
Monday, April 29th.
JUDGE) ROANS
pronounced the following opinion of the court.
‘‘The court is of opinion, that the said decree is erroneous in this, that the court below, being of opinion that the defendants are severally, as well as jointly, liable to the plaintiffs for the rents and profits of the land ordered to be conveyed by the decree of the 12th of September, 1797, ordered that the defendant Isaac Hite, executor of Isaac Hite, who was executor of Joist Hite, deceased, do pay to the complainants the sum of 1872 dollars, the amount of the rents and profits of the said land from the 4th day of February, 1791, until the 1st day of January, 1801; whereas, by the Said decree of the 12th of September, 1797, which was affirmed on an appeal to this court, the defendants are, jointly, and not jointly and severally, ordered to pay to the plaintiff the said rents and profits. The decree is also erroneous in ordering the said rents and profits to be paid by the *said Isaac Hite, instead of ordering them to be paid by the said defendant de bonis testatoris.”
Decree reversed with costs, and suit remanded to the court of chancery, “for proper parties to be made, and for further proceedings to be had therein agreeable to the principles of this decree.”
